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 8
 9               IN THE UNITED STATES OF DISTRICT COURT FOR THE
10                           EASTERN DISTRICT OF CALIFORNIA
11
12   UNITED STATES OF AMERICA,
                                                      CR.S. No. 2:11-CR-00514 TLN
13                              Plaintiff,                      2:12-CR-00406 TLN
14
                    v.
15                                                    STIPULATION AND [PROPOSED]
16   NICHOLAS VOTAW,                                  ORDER TO MODIFY CONDITIONS
                                                      OF PRETRIAL RELEASE TO
17                             Defendant.             REMOVE CONDITION TO BE
18                                                    SUPERVISED BY THE PRETRIAL
                                                      SERVICES AGENCY
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22          IT IS HEREBY STIPULATED by and between McGregor W. Scott, United States

23   Attorney, through Heiko Coppola, Assistant United States Attorney, attorney for

24   Plaintiff, and David D. Fischer, attorney for defendant Nicholas Votaw, that Mr. Votaw’s

25   pretrial supervision should be terminated and that he should remain out of custody on the

26   presently set unsecured appearance bonds of $50,000 in each case. Condition number 6

27   pertaining to surrendering any passports and not applying for any passports is to remain

28   in place. Also, as a condition of Mr. Votaw’s pretrial release, Mr. Votaw shall comply
     with all federal, state, and local laws.


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 1          Pretrial Services indicates that Mr. Votaw has done well on supervision. On
 2   January 10, 2012, Mr. Votaw voluntarily appeared in Court after learning that a warrant
 3   was issued for his arrest. He was released the same day on conditions of release and is
 4   supervised by the Pretrial Services Agency. He has remained on supervision without
 5   incident.   Based on the foregoing, the parties stipulate that Mr. Votaw’s pretrial
 6   supervision should be terminated and that he be ordered released on the presently set
 7   unsecured appearance bond.
 8                                                        Respectfully submitted,
 9
10   Dated: April 30, 2019                                /s/ David D. Fischer
                                                          DAVID D. FISCHER
11
                                                          Attorney for Defendant
12                                                        NICHOLAS VOTAW
13
14   Dated: April 30, 2019                                /s/ David D. Fischer for
                                                          HEIKO COPPOLA
15                                                        Assistant United States Attorney
16                                                        Counsel for Plaintiff
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18          IT IS SO ORDERED
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     Dated: May 1, 2019
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